     Case 3:19-cv-02301-L-BN Document 19 Filed 12/20/19                   Page 1 of 2 PageID 91


                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

MICAH CROFFORD BROWN,                              §
TDCJ #999580,                                      §
                                                   §
                 Petitioner,                       §
v.                                                 §    Civil Action No. 3:19-CV-2301-L-BN
                                                   §
LORIE DAVIS, Director, Texas                       §
Department of Criminal Justice,                    §
Correctional Institutions Division,                §
                                                   §
                 Respondent.                       §

                                               ORDER

        The Findings, Conclusions and Recommendation of the United States Magistrate Judge

(“Report”) (Doc. 12) was entered on November 12, 2019, recommending that the court deny

Petitioner’s Motion to Proceed In Forma Pauperis (Doc. 11), filed November 4, 2019, and require

him to pay the filing fee of $5 within 21 days of any order accepting the magistrate judge’s

recommendation. The Report further recommends that the court dismiss without prejudice this

action for failure to prosecute and comply with a court order if Petitioner fails to pay the filing fee.

No objections to the Report were filed.

        Having reviewed the motion, file, record in this case, and Report, the court determines that

the findings and conclusions of the magistrate judge are correct; accepts them as those of the court;

and denies Petitioner’s Motion to Proceed In Forma Pauperis (Doc. 11). As the docket sheet

indicates that Petitioner paid the $5 filing fee after the magistrate judge entered his Report, the court

rejects as moot the Report, to the extent that the magistrate judge recommended that Petitioner be

required to pay a $5 filing fee to avoid dismissal of the action.


Order – Page 1
  Case 3:19-cv-02301-L-BN Document 19 Filed 12/20/19            Page 2 of 2 PageID 92


       It is so ordered this 20th day of December, 2019.



                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




Order – Page 2
